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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

In re: : Chapter 11

LTL MANAGEMENT, LLC
Debtor No. 23-12825 (MBK)

LTL MANAGEMENT, LLC :
Plaintiff, é Adv. No. 23-01092 (MBK)
Vv. .
ESTATE OF MELISSA FLEMING

Defendants.

MEMORANDUM OF LAW IN SUPPORT OF THE ESTATE OF MELISSA FLEMING
MOTION TO DISMISS ADVERSARY COMPLAINT

Defendant, Estate of Melissa Fleming incorporate all arguments contained in the Motion of the
Official Committee of Talc Claims to Dismiss the Second Bankruptcy Petition of LTL Management, LLC

thereon through the same were set forth herein at length.

GEOFFRE PE ASSOCIATES, P.C.

By:

for the Estate of Melissa Fleming
1515 Market Street, Suite 1650
Philadelphia PA 19102

/ (215) 567-6600
Dated: AWW

GEOFFREY B. GOMPERS, =

